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                                                                         FILED IN THE
1                                                                    U.S. DISTRICT COURT
                                                               EASTERN DISTRICT OF WASHINGTON



2                                                                  Jan 19, 2021
                                                                    SEAN F. MCAVOY, CLERK

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5                         UNITED STATES DISTRICT COURT

6                       EASTERN DISTRICT OF WASHINGTON

7    UNITED STATES OF AMERICA,                        No. 4:21-MJ-07015-MKD-1

8                       Plaintiff,                    ORDER FOLLOWING INITIAL
                                                      APPEARANCE ON COMPLAINT
9    vs.                                              AND SETTING DETENTION AND
                                                      PRELIMINARY HEARINGS
10   ARTURO TEJEDA-GOMEZ,
                                                      **USMS ACTION REQUIRED**
11                      Defendant.

12         On Tuesday, January 19, 2021, Defendant made an initial appearance on the

13   Complaint (ECF No. 1). With his consent, Defendant appeared by video from

14   Benton County Jail and was represented by Doug McKinley. Assistant United

15   States Attorney Benjamin Seal represented the United States.

16         Defendant was advised of, and acknowledged Defendant’s rights.

17         A member of the Criminal Justice Act Panel was appointed to represent

18   Defendant.

19         Under federal law, including Rule 5(f) of the Federal Rules of Criminal

20   Procedure, Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions


     ORDER FOLLOWING INITIAL APPEARANCE ON COMPLAINT AND
     SETTING DETENTION AND PRELIMINARY HEARINGS - 1
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1    interpreting Brady, the United States has a continuing obligation to produce all

2    information or evidence known to the United States that is relevant to the guilt or

3    punishment of a defendant, including, but not limited to, exculpatory evidence.

4          Accordingly, the Court Orders the United States to produce to Defendant in

5    a timely manner all information or evidence known to the United States that is

6    either: (1) relevant to Defendant’s guilt or punishment; or (2) favorable to

7    Defendant on the issue of guilt or punishment.

8          This Order is entered under Rule 5(f) and does not relieve any party in this

9    matter of any other discovery obligation. The consequences for violating either

10   this Order or the United States’ obligations under Brady include, but are not

11   limited to, the following: contempt, sanction, referral to a disciplinary authority,

12   adverse jury instruction, exclusion of evidence, and dismissal of charges.

13         A detention hearing was set before Judge Dimke by video in Yakima,

14   Washington, on Thursday, January 21, 2021, at 3:15 PM. Pending the hearing,

15   Defendant shall be detained in the custody of the United States Marshal and

16   produced for the hearing. The United States Probation/Pretrial Services Office

17   shall prepare a supplemental pretrial services report prior to the hearing and shall

18   notify defense counsel prior to interviewing Defendant.

19         A preliminary hearing was set for Tuesday, February 02, 2021, at 3:00 PM,

20   before Judge Dimke by video in Yakima, Washington.


     ORDER FOLLOWING INITIAL APPEARANCE ON COMPLAINT AND
     SETTING DETENTION AND PRELIMINARY HEARINGS - 2
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1        DATED January 19, 2021

2                             s/Mary K. Dimke
                              MARY K. DIMKE
3                    UNITED STATES MAGISTRATE JUDGE

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     ORDER FOLLOWING INITIAL APPEARANCE ON COMPLAINT AND
     SETTING DETENTION AND PRELIMINARY HEARINGS - 3
